     ROCHE FREEDMAN LLP
 1   Kyle W. Roche (admitted pro hac vice)
     Edward Normand (admitted pro hac vice)
 2   Richard Cipolla (admitted pro hac vice)
     Stephen Lagos (admitted pro hac vice)
 3   Ivy T. Ngo (SBN 249860)
     99 Park Avenue, 19th Floor
 4   New York, NY 10016
     Telephone: (646) 350-0527
 5   Facsimile: (646) 392-8842
     Email: kyle@rochefreedman.com
 6   Email: tnormand@rochefreedman.com
     Email: rcipolla@rochefreedman.com
 7   Email: slagos@rochefreedman.com
     Email: ingo@rochefreedman.com
 8
     Counsel for Lead Plaintiff Henry Rodriguez
 9   and Lead Counsel for the Class
10
                              UNITED STATES DISTRICT COURT
11                          NORTHERN DISTRICT OF CALIFORNIA
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13   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
14                                                PLAINTIFF’S NOTICE OF
                                Plaintiff,        PENDENCY OF OTHER ACTION
15                                                PURSUANT TO LOCAL RULE 3-13
                  v.
16                                                Judge: Hon. James Donato
     DFINITY USA RESEARCH LLC, DFINITY
17   FOUNDATION, and DOMINIC WILLIAMS,

18                              Defendants.

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        PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTION – No. 3:21-cv-06118-JD
 1         Under Civil Local Rule 3-13, Lead Plaintiff Henry Rodriguez and named plaintiff Daniel
 2   Valenti, individually and on behalf of all others similarly situated (“Plaintiffs”), by and through
 3   their undersigned counsel, hereby notify the Court and Defendants of a related pending securities
 4   class action in the County of San Mateo Superior Court of the State of California captioned
 5   Ocampo v. Dfinity USA Research LLC et al., 21-cv-03843.
 6         This action and the Ocampo action have no formal relationship, but their subject matter and
 7   parties partially overlap. In the Ocampo action, Plaintiff Daniel Ocampo, on behalf of a class, has
 8   brought securities claims against the three Defendants here, Dfinity USA Research LLC, Dfinity
 9   Stiftung, and Dominic Williams (the “Dfinity Defendants”), as well as additional defendants AH
10   Capital Management LLC and Polychain Capital. Similar to this case, Ocampo has brought claims
11   under §§ 12(a)(1) and 15 of the Securities Act arising from the Dfinity Defendants’ sale of
12   unregistered Internet Computer Project tokens (“ICP” tokens) on or after May 10, 2021. Unlike
13   Plaintiffs here, however, Ocampo asserts no Exchange Act claims, which can only be brought in
14   federal court, 15 U.S.C. §78aa(a), and Ocampo asserts no analogue to Plaintiffs’ claims in this
15   matter based on Defendants’ false statements and omissions, and market manipulation.
16         The Ocampo action is at the pleading stage. On April 7, 2022, the superior court overruled
17   in part and sustained in part defendants’ demurrer to the original complaint, granting Ocampo
18   leave to amend. Ocampo vs. Dfinity USA Research LLC, 21-Civ-03843, (Cal. Sup. Ct. Apr. 7,
19   2022) (attached to the contemporaneously filed Declaration of Kyle Roche at ECF No. 65-2). In
20   particular, the superior court addressed three main arguments:
21         First, the court rejected defendants’ argument that a statute of repose barred the Securities
22   Act claim. The court held that this affirmative defense, which defendants had the burden to prove,
23   was immature at the pleading stage; and that even accepting defendants’ contentions, there was
24   not enough evidence to establish it. Id. at 4.
25         Second, the ourt found that to plead a § 12(a)(1) claim, under “binding” state law precedent,
26   Ocampo had to allege that defendants either “passed title to the ICP tokens to him” or “direct[ly]
27   communicat[ed]” with him. Id. at 5 (citing Jensen v. iShares Tr., 44 Cal. App. 5th 618, 646 (Cal.
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         PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTION – No. 3:21-cv-06118-JD
 1   App. Div. 2020)). The court found that Ocampo did not make allegations that met either standard
 2   and sustained defendants’ argument that Ocampo had not pled a § 12(a)(1) claim.
 3         Third, the court found that Ocampo had not alleged, as required, that “he purchased ICP
 4   tokens in a domestic transaction,” because alleging that he was a California resident was not
 5   enough to plead the domesticity of the transaction. Id. at 6. Unlike Plaintiffs in this action,
 6   Ocampo did not identify where he bought his ICP tokens.
 7         After the superior court sustained the demurrer, Ocampo filed an amended complaint on
 8   May 24, 2022. No briefing schedule has been set but there is currently a conference before the
 9   superior court on June 16, 2022.
10         Plaintiffs see no need at this point for any coordination between this action and Ocampo.
11   The Dfinity Defendants, represented by the same counsel in his action and Ocampo, have not
12   requested any such coordination. Instead, based on a motion to stay that the defendants requested
13   in Ocampo, the Dfinity Defendants have revealed their preference to proceed here in the first
14   instance. In denying that motion to stay, moreover, the superior court recognized because of the
15   differing parties in these actions and the broader nature of the claims in this action, it is not clear
16   how the resolution of one action would affect the other. See Ocampo vs. Dfinity USA Research
17   LLC, 21-Civ-03843 at pp. (Cal. Sup. Ct. Feb. 16, 2022). If both cases proceed past the pleading
18   stage, Plaintiffs will endeavor to work with the Dfinity Defendants to conserve resources where
19   possible, such as it relates to discovery, so long as such efforts do not limit Plaintiffs’ rights.
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22   Dated: June 3, 2022                            Respectfully Submitted,
23                                                  ROCHE FREEDMAN LLP
24                                                  /s/ Kyle W. Roche
                                                    Kyle W. Roche (admitted pro hac vice)
25                                                  Edward Normand (admitted pro hac vice)
                                                    Richard Cipolla (admitted pro hac vice)
26
                                                    Stephen Lagos (admitted pro hac vice)
27                                                  Ivy T. Ngo (SBN 249860)
                                                    99 Park Avenue, 19th Floor
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                                         2
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 1                                 Telephone: (646) 350-0527
                                   Facsimile: (646) 392-8842
 2                                 Email: kyle@rochefreedman.com
                                   Email: tnormand@rochefreedman.com
 3                                 Email: rcipolla@rochefreedman.com
                                   Email: slagos@rochefreedman.com
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 5
                                   Counsel for Lead Plaintiff Henry Rodriguez and Lead
 6                                 Counsel for the Class

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